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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________
D.H. and A.H., individually and on behalf of H.H.

                      Plaintiffs-Appellants,

       -against-                                             ORDER
                                                             24-cv-4575 (DEH)(OTW)
New York City Department of Education,
                    Defendant-Appellee.
________________________________________

       IT IS HEREBY ORDERED that the Office of State Review of the New York State

Education Department shall provide a certified copy of the administrative record in Office of

State Review Appeal No. 23-292 to counsel for Plaintiffs, Jesse Cole Cutler, Skyer & Associates,

L.L.P., 142 Joralemon Street, Suite 1120, Brooklyn, NY 11201; and

       IT IS FURTHER ORDERED that upon receipt of the certified record from the Office of

State Review, Plaintiffs’ counsel shall provide a copy of such record to counsel for the

Defendant, and shall file the certified record with the Court under seal pursuant to Federal Rule

of Civil Procedure 5.2(d).

       SO ORDERED.



                                                                   ONA T. WANG
                                                                     U.S.M.J.



DATED:         New York, New York
                         20 2024
               November ____,
